                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           CASE NO. 1:14-CV-954

  STUDENTS FOR FAIR
  ADMISSIONS, INC.,

                           Plaintiff,

                      v.


  UNIVERSITY OF NORTH
  CAROLINA et al.,

                           Defendants.


              UNC DEFENDANTS’ UNOPPOSED MOTION
   TO TOLL THE DEADLINE FOR ANY MOTION FOR ATTORNEYS’ FEES

       The University of North Carolina Defendants respectfully move that the Court toll

the deadline for its motion for statutory attorneys’ fees until 60 days after all appellate

proceedings have concluded in this matter. In support of this motion, the UNC

Defendants state the following:

       1.     On May 28, 2020, the Court granted the UNC Defendants’ unopposed

motion for partial summary judgment on the pleadings as to Count III of SFFA’s

complaint. (ECF 210 at 2-3.)

       2.     After trial, the Court issued its decision on remaining Counts I and II in

favor of the UNC Defendants on October 18, 2021. (ECF 254.)

       3.     In its decision, the Court stated that attorneys’ fees and costs would be

addressed separately. (ECF 254 at 155.)




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         4.    The Court entered judgment for the UNC Defendants on Counts I and II on

November 4, 2021. (ECF 257.)

         5.    Two days later, on November 6, 2021, SFFA filed a notice of appeal. (ECF

258.)

         6.    On November 11, 2021, SFFA filed in the Supreme Court a petition for a

writ of certiorari before judgment and an accompanying motion to expedite briefing of

the petition. Pet. for Cert., Students for Fair Admissions Inc. v. University of North

Carolina, No. 21-707 (S. Ct.). A decision on the petition remains pending.

         7.    Under Federal Rule of Civil Procedure 54(d)(2)(B)(i), motions for

attorney’s fees ordinarily must be filed “no later than 14 days after the entry of

judgment.” That limit may, however, be altered by “statute or court order.” Fed. R. Civ.

P. 54(d)(2)(B).

         8.    In the Middle District of North Carolina, Local Rule 54.2 alters this rule. It

requires that motions for fees be filed within 60 days of the entry of judgment. LR54.2.

         9.    Under this rule, in the absence of an appeal, the UNC Defendants’ motion

for fees is due by January 3, 2022.

         10.   The Fourth Circuit has indicated that the filing of a post-judgment appeal

tolls the 60-day period. See Mercer v. Duke Univ., 401 F.3d 199, 212 n.7 (4th Cir. 2005)

(deferring to the district court’s decision to read Local Rule 54.2 to allow a fees motion

within 60 days of the appellate court’s mandate); see also, e.g., Design Res., Inc. v.

Leather Indus. of Am., No. 10-cv-157, 2015 WL 8346599, at *3 (M.D.N.C. Dec. 8, 2015)

(deeming timely a motion for fees that was filed within 60 days of the Fourth Circuit’s


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mandate). Other courts in this district, however, have suggested that an appeal does not

disturb the 60-day deadline to seek fees following entry of judgment. See, e.g., Lynn v.

West, No. 94-cv-00577, 2000 WL 1229752, at *2 (M.D.N.C. Aug. 8, 2000).

       11.    Thus, in an abundance of caution, and to avoid any confusion or uncertainty

on the proper timing of a fees motion, the UNC Defendants respectfully request that the

Court toll the deadline for any motion for attorneys’ fees until 60 days after the final

conclusion of all appellate proceedings. Doing so would be in the interest of judicial

economy and conserve the litigants’ resources. See, e.g., Bryant v. Woodall, No. 16-cv-

1368 (M.D.N.C. Jul. 12, 2021), ECF 103 (granting a similar motion to toll the deadline

for a filing a fees motion until 60 days after appellate proceedings have concluded).

       12.    Counsel for the UNC Defendants have consulted with counsel for SFFA

and counsel for the Student-Intervenors. Intervenors do not oppose this motion. SFFA

does not oppose the request but it reserves its right to challenge a fee petition filed by

UNC on any and all grounds.




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      Respectfully submitted, this the 30th day of December, 2021.

SKADDEN, ARPS, SLATE,
  MEAGHER & FLOM, LLP
                                              JOSHUA H. STEIN
/s/ Patrick Fitzgerald                        ATTORNEY GENERAL
Patrick Fitzgerald
Amy L. Van Gelder                             /s/ Stephanie Brennan
Skadden, Arps, Slate, Meagher                 Stephanie Brennan
    & Flom, LLP                               Special Deputy Attorney General
155 North Wacker Drive                        NC State Bar No. 35955
Chicago, IL 60606-1720                        E: sbrennan@ncdoj.gov
(312) 407-0700
E: patrick.fitzgerald@skadden.com             /s/ Tamika Henderson
E: amy.vangelder@skadden.com                  Tamika Henderson
                                              Special Deputy Attorney General
/s/ Lara Flath                                NC State Bar No. 42398
Lara Flath                                    E: tlhenderson@ncdoj.gov
Skadden, Arps, Slate, Meagher
    & Flom, LLP
One Manhattan West
New York, NY 10001
(212) 735-3000
E: lara.flath@skadden.com

Attorneys for UNC Defendants




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                             CERTIFICATE OF SERVICE

               I hereby certify that on December 30, 2021, I filed a true and correct copy of

the foregoing with the Clerk of Court using the CM/ECF system, which will be served on

all registered users.

       Respectfully submitted, this the 30th day of December 2021.


                                                  /s/ Patrick Fitzgerald
                                                  Patrick Fitzgerald




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